
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-03-105-CV



WILLIAM R. HURST	APPELLANT



V.



ESTATE OF ROBERT L. HAYNIE, 

DECEASED, LEAH LYNN HAYNIE, 

AND M. DAN KING, INDEPENDENT 

ADMINISTRATOR AND TRUSTEE 	APPELLEES



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FROM PROBATE COURT NO. 2 OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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We have considered appellant’s “Motion To Dismiss Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same, for which let execution issue.

PER CURIAM	

PANEL D:	LIVINGSTON, DAUPHINOT, and HOLMAN, JJ.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DELIVERED: May 8, 2003	 &nbsp;

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




